Case 3:17-cv-00072-NKM-JCH Document 744-2 Filed 05/28/20 Page 1 of 4 Pageid#:
                                 11109




                   Exhibit 2
Case 3:17-cv-00072-NKM-JCH Document 744-2 Filed 05/28/20 Page 2 of 4 Pageid#:
                                 11110



From: Acacia Dietz
Sent: Wednesday, May 6, 2020 12:41 PM
To: Michael Bloch; Jessica Phillips
Cc: Edward ReBrook, ESQ; Jessica Phillips
Subject: Re: Mr. Schoep's Privilege Log


Ms. Phillip's and Mr. Bloch,

Apologies for the delayed response. I spoke with Mr. Schoep regarding the production of his
phone and was told that it would be shipped out to iDS by Friday May 7th. Due to this pandemic
and the current lockdown in Michigan, Mr. Schoep had previously been unable to ship his
phone. We apologize for any inconvenience.

Thank you.

Best Regards,

Acacia Dietz

The ReBrook Law Office

Phone: 586.696.0385

Email: acacia.dietz@outlook.com



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immediately by telephon e (586.696.0385) or by electronic ma il (acacia.dietz@outlook.com) and
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From: Jessica Phillips
Sent: Monday, May 4, 2020, 5:01 PM
To: Acacia Dietz; Michael Bloch
Cc: Edward ReBrook, ESQ; Jessica Phillips
Subject: RE: Mr. Schoep's Privilege Log


Mr. ReBrook:

In your April 1, 2020, filing on behalf of Mr. Schoep, you represented to the Court that Mr. Schoep had
“agreed to have his new phone imaged by the Vendor.” ECF No. 694 at 12. Ms. Dietz then informed us
on April 6, 2020, in the email below, that “We will also be providing Mr. Schoep’s new phone to the
Case 3:17-cv-00072-NKM-JCH Document 744-2 Filed 05/28/20 Page 3 of 4 Pageid#:
                                 11111



vendor for imaging and will provide his supplemental response for ‘Exhibit A To Stipulation and Order
for the Imaging, Preservation, and Production of Documents’ accordingly.”

Nearly one month has passed, and the vendor has not received Mr. Schoep’s phone. Furthermore, we
understand that, although the vendor has provided you with the necessary information to ship the
device to iDS, you have not provided the vendor with a tracking number or confirmation that the device
has been shipped or otherwise communicated with the vendor.

Please inform us promptly of the status of your production of Mr. Schoep’s phone. Plaintiffs reserve all
rights.

Jessica E. Phillips
P artner

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(m) +1 312 493 7114
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www.bsfllp.com


From: Acacia Dietz [mailto:acacia.dietz@outlook.com]
Sent: Monday, April 6, 2020 1:49 AM
To: Michael Bloch                               Jessica Phillips <jphillips@bsfllp.com>
Cc: Edward ReBrook, ESQ <
Subject: Mr. Schoep's Privilege Log


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sender.




Mr. Bloch & Ms. Phillips,

Please find the attached revised Privilege Log for Mr. Schoep’s documents withheld due to privilege. iDS
(Vendor) has been authorized to release the newly recoded documents to you as of 1:30am, April 6,
2020.

We will also be providing Mr. Schoep’s new phone to the vendor for imaging and will provide his
supplemental response for “Exhibit A To Stipulation and Order for the Imaging, Preservation, and
Production of Documents” accordingly.

Please let Mr. ReBrook or myself know if there is anything else that is needed from Mr. Schoep.

ACACIA DIETZ
Legal Assistant
THE REBROOK LAW OFFICE
Phone: 586.696.0385
Case 3:17-cv-00072-NKM-JCH Document 744-2 Filed 05/28/20 Page 4 of 4 Pageid#:
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